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 9 Attorneys for United States of America

10                                    UNITED STATES DISTRICT COURT

11                                  NORTHERN DISTRICT OF CALIFORNIA

12                                         SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                         )   CASE NO. CR 20-249 RS
14                                                     )
             Plaintiff,                                )   DECLARATION OF ANDREW F. DAWSON IN
15                                                     )   SUPPORT OF OPPOSITION TO MOTION TO
        v.                                             )   COMPEL
16                                                     )
     MARCUS ANDRADE,                                   )
17                                                     )
             Defendant.                                )
18                                                     )

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             Andrew F. Dawson, counsel for the United States, states as follows:
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             1.      I am counsel for the government in this matter.
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             2.      Attached as Exhibit A is a true and correct copy of a letter, dated May 19, 2020, received
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     by the U.S. Attorney’s Office from Defendant Andrade.
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             3.      Attached as Exhibit B is a true and correct copy of a pleading filed by Defendant
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     Andrade in a related civil forfeiture matter (Case No. 4:20-cv02013-KAW), which was downloaded
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     from the Court’s ECF system.
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             4.      Attached as Exhibit C is a true and correct copy of a letter sent by the U.S. Attorney’s
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     Office to Defendant Andrade on August 1, 2022.
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     DAWSON DECLARATION                                1
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 1          5.     I have been informed that on December 1 and 2, 2022, FBI agents were able to speak

 2 with Angela Generosa by telephone. Ms. Generosa told the agents that she had never spoken with any

 3 representative of the FBI about Andrade or the investigation into him until December 2022.

 4          6.     Ms. Generosa told the agents that it was not true that Comply Advantage, a company she

 5 had previously worked for, monitored AML Bitcoin transactions during her tenure assigned to

 6 Andrade’s account. She stated that Comply Advantage did not monitor any transactions for Andrade’s

 7 company while she worked on the account, and that she had never heard of the name “AML Bitcoin”

 8 until being interviewed in December 2022.

 9          7.     Ms. Generosa stated that Comply Advantage was never able to deliver a functional

10 product to Andrade while she worked on the project and that Andrade had a contract with Comply

11 Advantage that was never fulfilled. She further stated that Andrade broke his contract in less than six

12 months, and she suspects he did not pay.

13          I declare under penalty of perjury under the laws of the United States that the foregoing is true

14 and correct.

15          Executed on December 5, 2022, at San Francisco, California.

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                                                                 _______/s/_________________
18                                                               ANDREW F. DAWSON
                                                                 Assistant United States Attorney
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     DAWSON DECLARATION                              2
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